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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                          )
                                                     )
                                  Plaintiff,         )
                                                     )
                             v.                      )   Case No. 1:16-cr-00123-TWP-DML
                                                     )
  RAFAEL ROJAS-REYES,                                )   -01
  HECTOR SAUL CASTRO-AGUIRRE                         )
     a/k/a CHAPITO                                   )
     a/k/a CHAPO,                                    )   -07
  JOHN RAMIREZ-PRADO, and                            )   -10
  JOSE MANUEL CARRILLO-TREMILLO                      )
     a/k/a MECHE,                                    )   -15
                                                     )
                                  Defendants.        )

                 ORDER DENYING DEFENDANTS’ MOTIONS IN LIMINE

         This matter is before the Court on two Motions in Limine filed by Defendant Rafael Rojas-

  Reyes (“Rojas-Reyes”) (Filing No. 581; Filing No. 582), regarding the exclusion of testimony and

  evidence concerning the Sinaloa Cartel. Co-defendant Jose Manuel Carrillo-Tremillo (“Carrillo-

  Tremillo”) joined in the Motions (Filing No. 610). During the final pretrial conference, co-

  defendants Hector Saul Castro-Aguirre (“Castro-Aguirre”) and John Ramirez-Prado orally moved

  to join in the Motions, which the Court granted. Collectively, the four defendants proceeding to

  trial are referred to as the Defendants. The Government filed its Response Brief opposing the

  Motions in Limine on July 25, 2018 (Filing No. 628). For the following reasons, the Court denies

  the Motions in Limine.

                                      I. LEGAL STANDARD

         The Court excludes evidence on a motion in limine only if the evidence clearly is not

  admissible for any purpose. See Hawthorne Partners v. AT&T Technologies, Inc., 831 F. Supp.
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  1398, 1400 (N.D. Ill. 1993). Unless evidence meets this exacting standard, evidentiary rulings

  must be deferred until trial so questions of foundation, relevancy, and prejudice may be resolved

  in context. Id. at 1400–01. Moreover, denial of a motion in limine does not necessarily mean that

  all evidence contemplated by the motion is admissible; rather, it only means that, at the pretrial

  stage, the Court is unable to determine whether the evidence should be excluded. Id. at 1401.

                                          II. DISCUSSION

         The Defendants are charged with conspiracy to distribute controlled substances, money

  laundering, distribution and possession of controlled substances, and continuing criminal

  enterprise. Count One of the Second Superseding Indictment charges the Defendants and others

  with Conspiracy to Distribute Controlled Substances in violation of 21 USC § 846. (Filing No.

  416.) In the first Motion in Limine, the Defendants ask the Court to exclude any evidence and

  argument regarding the kidnapping and murder of Angel Barrios-Moreno and two others by the

  Sinaloa Cartel as set out as an overt act in Paragraph 17 of Count One. Id. at 10. They argue that

  this evidence is irrelevant to the issue of each Defendant’s knowledge and intent to commit the

  charged offenses. If deemed relevant, the Defendants argue that any probative value of the

  evidence is substantially outweighed by the danger of unfair prejudice, confusing the issues, and

  misleading the jury, under Rule 403 of the Federal Rules of Evidence. (Filing No. 581.)

         Similarly, in the second Motion in Limine, the Defendants ask the Court to exclude any

  evidence and argument regarding the Sinaloa Cartel in general. The Defendants argue that the

  operation and activities of the Sinaloa Cartel are not relevant to the issue of each Defendant’s

  knowledge and intent to commit the charged offenses. They also argue that any probative value

  of this evidence is substantially outweighed by the danger of unfair prejudice, confusing the issues,




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  and misleading the jury. They conclude that it would not be an abuse of the Court’s discretion to

  exclude this evidence and argument. (Filing No. 582.)

         In response to the Motions in Limine, the Government explains that one cooperating

  witness will identify Rojas-Reyes, Castro-Aguirre, and Carrillo-Tremillo as members of the

  Sinaloa Cartel, and a second cooperating witness will identify Castro-Aguirre as a member of the

  Sinaloa Cartel. The Government further explains that both of these cooperating witnesses will

  identify unindicted co-conspirator Angel Barrios-Moreno as a member of the Sinaloa Cartel. The

  cooperating witnesses are expected to testify that they participated in the activities of the Sinaloa

  Cartel by transporting methamphetamine from the Western United States to cities throughout the

  Midwest and Eastern United States.

         The Government asserts that it will present testimony from DEA Special Agent Joshua

  Cluff about the Sinaloa Cartel’s drug smuggling activities into Arizona and the Pacific Coast, and

  trial testimony is expected to establish that the drugs involved in this case came from Arizona and

  the Pacific Coast. The Government argues that “evidence of the modus operandi of the Sinaloa

  Cartel will help the jury understand the manner in which drug traffickers operate and thus help the

  jurors understand the testimony that they will receive in this case.” (Filing No. 628 at 3.)

         The Government notes that the Seventh Circuit has held evidence of gang membership is

  relevant to show the existence of a joint venture or conspiracy and the relationships among the

  members of the joint venture or conspiracy, citing United States v. Alviar, 573 F.3d 526, 536 (7th

  Cir. 2009); United States v. Suggs, 374 F.3d 508, 516–17 (7th Cir. 2004); and United States v.

  Westbrook, 125 F.3d 996, 1007 (7th Cir. 1997). The Government acknowledges the Seventh

  Circuit has expressed concern with the potential abuse of substituting evidence of gang affiliation

  for evidence of involvement in a drug conspiracy. Suggs, 374 F.3d at 517. However, the Seventh



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  Circuit still allows evidence of gang membership to show the existence of a conspiracy and the

  relationships among the members of the conspiracy.

         The Government intends to offer the proposed evidence to show the Defendants formed

  part of a network that distributed controlled substances throughout the United States with Angel

  Barrios-Moreno, as a member of the Sinaloa Cartel, coordinating the activities of individuals who

  procured drugs from Mexico. The Government contends their evidence will show as follows:

  Sinaloa Cartel members, Castro-Aguirre, Rojas-Reyes, and Carrillo-Tremillo, organized and

  distributed drugs from the Western United States to Indiana and Pennsylvania. Although he was

  not a member of the Sinaloa Cartel, Ramirez-Prado helped transport controlled substances across

  the United States for the Sinaloa Cartel. The Government argues that evidence of the Defendants’

  membership in the Sinaloa Cartel helps explain how drug traffickers in different parts of the United

  States knew each other and how they came to distribute controlled substances together. The

  Government asserts, it should be allowed to introduce evidence about the existence of the Sinaloa

  Cartel, the activities of the Sinaloa Cartel, and the membership of Rojas-Reyes, Castro-Aguirre,

  and Carrillo-Tremillo in the Sinaloa Cartel.

         Concerning evidence and argument about the kidnapping and murder of Angel Barrios-

  Moreno and two others by the Sinaloa Cartel, the Government explains that this evidence is

  relevant because it will help the jury understand why Rojas-Reyes and Castro-Aguirre needed to

  obtain new drug sources and why Rojas-Reyes needed to recruit co-defendant Roberto Macias into

  the conspiracy. The Government argues this evidence will show that high-level members of the

  Sinaloa Cartel kidnapped Angel Barrios-Moreno and held him hostage pending a $500,000.00

  ransom payment to replace lost money. Angel Barrios-Moreno’s kidnapping is relevant because

  his wife asked Castro-Aguirre to collect $250,000.00 to contribute to the ransom money, and



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  Castro-Aguirre directed Yesenia Samaniego and co-defendant Yesenia Andrade-Guillen to help

  him collect drug proceeds to help satisfy the ransom payment. (Filing No. 417 at 17.) The three

  of them met in Indianapolis, Indiana and collected approximately $250,000.00 from Rojas-Reyes.

  Then they went to New York where Castro-Aguirre paid an individual whom the high-level

  members of the Sinaloa Cartel had designated to collect the ransom money.

         The Government asserts that Angel Barrios-Moreno’s murder is relevant because his

  murder interrupted the flow of methamphetamine to Rojas-Reyes in Indianapolis. Before Angel

  Barrios-Moreno’s murder, Rojas-Reyes obtained methamphetamine from his Sinaloa Cartel

  connections which consisted of Angel Barrios-Moreno procuring the drugs in Mexico and

  directing individuals to transport them into the United States where Castro-Aguirre then used his

  drug couriers to deliver the methamphetamine to Indianapolis. Thus, Angel Barrios-Moreno’s

  murder disrupted Rojas-Reyes’ methamphetamine trafficking business.

         The Government argues the evidence will show, because of this disruption in his drug

  supply, Rojas-Reyes sent a new drug courier, co-defendant Roberto Macias, to Arizona to obtain

  methamphetamine. The Government explains that, while Roberto Macias was waiting in Arizona,

  Rojas-Reyes received thirty pounds of methamphetamine from a new connection in Arizona and

  another thirty pounds from new associates of Castro-Aguirre. Then Rojas-Reyes used Roberto

  Macias to transport the sixty pounds of methamphetamine back to Indianapolis. Angel Barrios-

  Moreno’s murder required Rojas-Reyes and Castro-Aguirre to seek out new drug sources and new

  drug couriers.

         The Government concludes that this evidence is relevant because,

         Without hearing evidence of Barrios-Moreno’s death, the jury would not
         understand why Rojas-Reyes and Castro-Aguirre needed to obtain these new
         sources and why Rojas-Reyes needed to recruit Macias into the conspiracy. The
         murder of Barrios-Moreno, therefore, provides essential background information

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         to explain the conduct of the defendants during the conspiracy, as well as the
         manner and means by which the conspiracy operated.

  (Filing No. 628 at 9–10).

         As noted above, the Court excludes evidence on a motion in limine only if the evidence

  clearly is not admissible for any purpose. Such is not the case with the evidence concerning the

  Sinaloa Cartel and the kidnapping and murder of Angel Barrios-Moreno. Three of the four

  Defendants proceeding to trial are allegedly members of the Sinaloa Cartel, and evidence of their

  common membership in the Sinaloa Cartel may support the charge of conspiracy. Angel Barrios-

  Moreno’s kidnapping and murder appears to provide circumstantial evidence regarding the

  activities of some of the Defendants during the course of the charged conspiracy and the reasons

  for those activities. Accordingly, the Court finds the proposed evidence is relevant to show the

  nature of the conspiracy and relationships among the members of the conspiracy.

         The Court now considers the final hurdle, the balancing test of Rule 403. Relevant

  evidence should be excluded if its probative value is “substantially outweighed by the danger of

  unfair prejudice, confusion of the issues, or misleading the jury, or by considerations of undue

  delay, waste of time, or needless presentation of cumulative evidence.” Federal Rule of Evidence

  403.

         The Government argues the Defendants will not be prejudiced by the introduction of

  evidence about the kidnapping and murder because the Government will not offer any evidence

  suggesting that any of the Defendants on trial either participated in the murder or sanctioned the

  murder. The evidence will actually place all the trial Defendants in the United States at the time

  of the kidnapping and murder. It will also show that Rojas-Reyes and Castro-Aguirre tried to

  prevent the murder by collecting money to pay the ransom. Thus, the Government asserts, there

  is no unfair prejudice by the introduction of this evidence.

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         As an additional precaution, the Government has offered to stipulate that the Defendants

  on trial did not participate in the murders or the planning of the murders. It also suggests that the

  Court issue a jury instruction explaining that evidence of the kidnapping and murder was admitted

  solely as background context for the actions of the Defendants during the conspiracy and that no

  evidence exists to suggest that the Defendants on trial played any part in planning or committing

  the murders.

         Upon review of the Defendants’ and Government’s arguments, the Court concludes that

  the Government’s position and arguments are well-taken and excluding this evidence would not

  be appropriate. With the proper limiting instructions, the probative value of the proffered evidence

  would substantially outweigh the danger of unfair prejudice, confusion of the issues, misleading

  the jury and wasting time. Because of the potential for prejudice arising from the evidence about

  Angel Barrios-Moreno’s kidnapping and murder, the Court ORDERS the Government to tender

  a proposed limiting instruction that can be read to the jury at the time this evidence is introduced

  and a proposed final jury instruction regarding this evidence. The Government should tender these

  documents no later than Wednesday, August 1, 2018.

                                        III. CONCLUSION

         For the foregoing reasons, the Court DENIES the Defendants’ Motions in Limine (Filing

  No. 581; Filing No. 582). A ruling on a motion in limine is not final. If during the course of the

  trial, any counsel believes this ruling should be altered, counsel may approach the bench and

  request a hearing outside the presence of the jury. The Government may admit evidence of the

  Sinaloa Cartel and Angel Barrios-Moreno’s kidnapping and murder, solely to support the charge

  of conspiracy and subject to appropriate limiting instructions.

         SO ORDERED.



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   Date: 7/30/2018




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